Case 2:07-cr-20411-GCS-VMM ECF No. 229, PageID.1060 Filed 06/25/12 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                  Civil Case No. 10-13064
                                                   Criminal Case No. 07-20411
vs.                                                HON. GEORGE CARAM STEEH

ERNEST HAYES,

                Defendant.
__________________________________/

                   ORDER DENYING DEFENDANT’S THIRD MOTION
                         FOR REDUCTION IN SENTENCE

        Presently before the court is defendant’s third motion for reduction in sentence, filed

on June 14, 2012. On March 28, 2012, the court denied defendant’s second motion for

reduction in sentence, concluding that defendant is ineligible under 18 U.S.C. § 3582(c)(2)

for a reduction in sentence based on the crack guideline amendment, effective March 3,

2008.

        Accordingly,

        Defendant’s third motion for reduction in sentence is DENIED.

        Defendant is hereby prohibited from filing any motion or request for reduction in

sentence based on the crack guideline amendment.

        SO ORDERED.

Dated: June 25, 2012
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE
Case 2:07-cr-20411-GCS-VMM ECF No. 229, PageID.1061 Filed 06/25/12 Page 2 of 2




                                CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                June 25, 2012, by electronic and/or ordinary mail and also to
                Ernest Hayes at FCI Allenwood, P.O. Box 2000, Whitedeer,
                PA 17887-2000.
                                     s/Barbara M. Radke
                                         Deputy Clerk
